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                    19MUNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF FLORIDA
                          PENSACOLA DIVISION

 IN RE: 3M COMBAT ARMS                            Case No. 3:19md2885
 EARPLUG PRODUCTS
 LIABILITY LITIGATION

 This Document Relates to All Cases               Judge M. Casey Rodgers
                                                  Magistrate Judge Gary R. Jones


                                         ORDER

       This morning, Defendants Aearo Technologies LLC and certain of its

affiliates (“the Aearo debtors”) filed a Suggestion of Bankruptcy and Notice of

Automatic Stay of Proceedings in this MDL, notifying the Court of a petition for

Chapter 11 bankruptcy on behalf of the Aearo debtors in the United States

Bankruptcy Court for the Southern District of Indiana.1              See ECF No. 3328.

Defendant 3M Company is not a debtor in the bankruptcy cases; therefore, the

automatic statutory stay does not apply to it by operation of law. Presumably as a

result, the Aearo debtors have requested in the bankruptcy proceedings a temporary

restraining order, preliminary injunction, and confirmation that commencement or

continued prosecution of CAEv2 claims against 3M Company are also prohibited by



       1
        Bankruptcy cases have been filed in the Southern District of Indiana by the following
MDL Defendants: Aearo Technologies LLC, Aearo Holding LLC, Aearo Intermediate LLC,
Aearo LLC, Aearo Mexico Holding Corp., Cabot Safety Intermediate LLC, and 3M Occupational
Safety LLC. See In re Aearo Technologies LLC, No. 22-02890-JJG-11, ECF No. 1 at 5.
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the automatic stay. See In re Aearo Tech. LLC, No. 22-02890-JJG-11, ECF No. 10.

The Bankruptcy Court has not yet ruled on that request. Nevertheless, the Special

Master overseeing the MDL Wave process has advised the Court that 3M has now

“held in abeyance” all depositions in the Wave cases that were scheduled over the

next three days, in light of the bankruptcy filings. As no temporary restraining order,

preliminary injunction, or other prohibition on claims against 3M has been entered

by the Bankruptcy Court, it is unclear to this Court on what authority 3M was acting

when it unilaterally cancelled Wave depositions. Taken with the potential impact of

the Chapter 11 proceedings on this MDL—which has been pending for nearly 3.5

years and encompasses more than 240,000 individual claims—an expedited hearing

for 3M to show cause why it canceled all depositions in the Wave cases without prior

notice to and agreement of the Court, and also to discuss the bankruptcy filings, is

in order. 2

       Accordingly, a show cause hearing and status conference is hereby set for

Wednesday, July 27, 2022 at 8:30 a.m. Central. Counsel may appear in person,

by Zoom, or by telephone; however, due to the limited number of persons that Zoom


       2
         In that time, a significant amount of work has been accomplished in the MDL, including
corporate, government, and case-specific discovery, as well as 16 bellwether trials and 19 verdicts.
Fifteen hundred cases have or are currently engaged in Wave discovery. Daubert and dispositive
motions for approximately 375 Wave 1 cases will be ripe on August 9, 2022, and one Wave 1 case
is already set for trial in this district. The Wave 1 cases that survive summary judgment will be
remanded to their transferor courts for trial. Waves 2 and 3, with 500 cases each, are proceeding
on a similar track.
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can accommodate, only one attorney per plaintiff law firm may sign onto the Zoom

link. Counsel representing 3M at the hearing/status conference must include at least

one attorney who will speak to 3M’s unilateral suspension of Wave depositions, and

at least one attorney who is in a position to discuss the recent bankruptcy filings.

Each side must advise Judge David Herndon (ret.), Special Master, of who will

appear on its behalf at the status conference by July 26, 2022 at 4 p.m. Central. The

Zoom link will be circulated thereafter.

      SO ORDERED, on this 26th day of July, 2022.


                                M. Casey Rodgers
                                M. CASEY RODGERS
                                UNITED STATES DISTRICT JUDGE
